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              UNITED STATES COURT OF INTERNATIONAL TRADE



JSW STEEL (USA) INC.

              Plaintiff,

     - against-                                    Comt No. 19-00133

UNITED STATES,

              Defendant.




      PLAINTIFF'S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
                  JUDGMENTON THEAGENCYRECORD



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       Plaintiff JSW Steel (USA) fuc. ("JSW"), by its undersigned attorneys, Chaffetz Lindsey

LLP, submits this Memorandum of Law in Support of its Motion for Judgment on the Agency

Record, pursuant to CIT Rule 56.1.

       I.      PRELIMINARY STATEMENT

       This case presents a textbook example of arbitra1y and capnc10us agency action

prohibited by the Administrative Procedure Act ("APA"), See 5 U.S.C. § 500 et seq. What

makes this case extraordinaiy is that the Depaitment of Commerce ("Commerce" or the

"Depa1tment") engaged in an unprecedented capitulation to thrne major American steel

producers to deny twelve requests by JSW for the exclusion of steel slab impo1ts from the

Section 232 steel tariffs.   fu doing so, the Depa1tment flouted its own rnle, ignored the

ove1w helming and uncontrove1ted evidence before it, and became a rnbber stamp for these

domestic producers. The histmy of the proceedings and the Department's fundamental failures

tell an unfo1tunate story of a government agency disregarding basic notions of due process and

fair play in order to reach an unsuppmtable, preordained conclusion.

       The tale begins in March 2018, when Commerce, acting pursuant to a presidential

directive, promulgated a rnle designed to enable American steel producers to impo1t steel

products without having to incur the 25% tariff the President imposed on such products from a

number of countries including (as pertinent here) fudia and Mexico. Simply stated, the rnle

provides that companies can apply for an exclusion from the tai·iffs if the product sought to be

impmted is (a) not produced domestically in (b) sufficient and reasonably available quantity or

satisfacto1y quality (c) to supply the requester "immediately" (defined as "within eight weeks").

       fu accordance with the published rnle, JSW submitted twelve requests for exclusion from

the taliffs for alloy and non-alloy steel slabs over 70 inches wide. JSW needs these slabs to



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manufacture specialized steel plate for use in heavy industry projects, such as oil and gas

pipelines and shipbuilding. The first six requests were for products imported from India with

thicknesses of 8, 10, and 12 inches. The next six were for 7.8-, 8.8-, and 9.8-inch thick slabs

impo1ted from Mexico. JSW made these requests because these slabs, which are vital to its

business, are not available in the United States.

       In addition to providing a mechanism for companies to seek an exclusion from the tariffs,

the Depa1tment's mle also permitted domestic producers to object to any requested exclusion if

the domestic producer could satisfy the requester's requirements (both in te1ms of quantity and

quality) for the product and do so within the specified eight-week time frame. Taking advantage

of that provision, three U.S. producers - U.S. Steel Corporation, A.K. Steel Co1poration and

Nucor Co1poration (the "Objectors") - filed objections to eve1y one of the more than 400

exclusion requests covering steel slab products, including every single one of JSW's requests.

They did so even though, as the record confirms, they knew that they could not supply the slabs

in the sizes or quality JSW needs, let alone within the mandated eight weeks.

       Despite the foregoing, with no investigation or analysis whatsoever, the Depa1tment

issued twelve sweeping, concluso1y, mlings denying eve1y one of JSW's requests. These denials

were arbitra1y and capricious and violated the APA because inter alia the Depa1tment:

       •     Ignored the unconu·overted evidence that none of the Objectors cmTently produces
             9.8", 10" or 12" slabs, and could not do so within the requisite time;

       •     Ignored the uncontrove1ted evidence that the Objectors had no available capacity to
             supply 7.8", 8", or 8.8" slabs to JSW;

       •     Ignored the fact that none of the Objectors could meet JSW' s quality requirements;

       •     Ignored the fact that the same companies had filed Objections to exclusion requests
             covering vastly greater quantities of steel slab than they could ever possibly
             produce; and



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        •      Failed to set forth any rationale for its decisions, choosing instead to issue virtually
               identical boilerplate rulings devoid of any factual basis or reasoned analysis.

        The Deprutment's conduct is pruticularly problematic because it appears that the agency

did not merely abdicate its responsibility to reach reasoned decisions on JSW's exclusion

requests, but it de facto ceded the entire process to the Objectors, rotely denying every exclusion

request for steel slab to which these companies objected. By doing so, the Department subverted

its own process and ran roughshod over JSW's (and other requesters') rights.

        The Department's management of the exclusion process is so troubling that, just over a

month ago, the Deprutment's Inspector General issued a rru·e waining to Commerce Secretru·y

Wilbm Ross, expressing serious concern that iITegularities in the process, including apparent

undocumented, ex parte communications with objectors, "gives the appearance that Deprutment

officials may not be impartial or transparent and are potentially making decisions based on

evidence not contained in the official record for specific exclusion requests." See "Management

Alert: Certain Communications by Department Officials Suggest Improper Influence in the

Section 232 Exclusion Request Review Process." 1

        Ignoring the record evidence and issuing decisions bereft of any analysis in order to favor

one set of private interests over another is precisely the type of arbitrary and capricious agency

action the APA protects against. This is hu e whether the Depa1tment's actions resulted from an

extI·eme case of regulatory capture or its gravely mistaken reliance on the Objectors'

unsuppmted representations. In either case, the Department's actions were blatantly arbitI·ary

and they must be set aside. This is not a close call.




1
 A tme and cotTect copy of the Inspector General' s memorandum is attached as Exhibit C to the Declaration of R.
Matthew Burke in Suppo1t of Plaintiff's Motion for Judgment on the Agency Record ("Burke Deel.").


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           II.       STATEMENT PURSUANT TO RULE 56.1

                     A.     Issue Presented For Review

           Whether the decisions of the Department of Commerce denying JSW's twelve requests

for exclusion from the Section 232 tariffs were "arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law" in violation of the Administrative Procedure Act (5

U.S.C. § 706(2)(A)) due to the Department's failure to:               (i) properly consider and accept

uncontroverted evidence in the record; (ii) adhere to its promulgated mle regarding the standard

to be applied in considering exclusion requests; (iii) a1ticulate a reasoned judgment connecting

its conclusions to the evidence in the record; and (iv) reach conclusions based on the evidence in

the record, rather than the unsupported claims of the self-interested Objectors.

           We respectfully submit that the answer is "yes."

                     B.     Administrative Determinations To Be Reviewed

           JSW challenges twelve decisions by the Department denying JSW' s requests for

exclusions from the Section 232 tariffs for certain steel slabs. Specifically, JSW challenges six

determinations, dated April 19, 2019, denying exclusion requests for certain alloy and non-alloy

steel slab impmted from India. These are Decision Nos.:

                 •   BIS-2018-0006-1218 (8-inch non-alloy steel slab) 2

                 •   BIS-2018-0006-1221 (IO-inch non-alloy steel slab) 3

                 •   BIS-2018-0006-1227 (12-inch non-alloy steel slab) 4

                 •   BIS-2018-0006-2335 (8-inch alloy steel slab) 5




2 Dkt. # 15-1 at 4-6.
3 Dkt. # 15-2 at 4-6.
4
  Dkt. # 15-3 at 4-6.
5
    Dkt. # 15--4 at4-5.


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                  •   BIS-2018-0006-2336 (10-inch alloy steel slab) 6

                  •   BIS-2018-0006-2337 (12-inch alloy steel slab) 7

           JSW also challenges six determinations, dated May 8, 2019, denying exclusion requests

for certain alloy and non-alloy steel slab imp01ied from Mexico. These are Decision Nos.:

                  •   BIS-2018-0006-29462 (7.8-inch non-alloy steel slab)8

                  •   BIS-2018-0006-29465 (7.8-inch alloy steel slab)9

                  •   BIS-2018-0006-29470 (8.8-inch non-alloy steel slab) 10

                  •   BIS-2018-0006-29474 (8.8-inch alloy steel slab) 11

                  •   BIS-2018-0006-29481 (9.8-inch non-alloy steel slab) 12

                  •   BIS-2018-0006-29484 (9.8-inch alloy steel slab) 13

           III.       BACKGROUND

                      A.     Parties

           JSW is a major U.S. steel producer operating a plant in Baytown, Texas where it

manufactures, among other things, steel plate for use in critical infrastrncture projects in the

United States. In order to manufacture and supply that plate to its customers, JSW needs a

reliable quantity of high quality steel slabs. Since those slabs are not available in the United




6
 Dkt. # 15-5 at 4-5.
7
 Dkt. # 15-6 at 4-5. Because JSW ultimately did not imp011 any 12-inch alloy slab from India dming the exclusion
period, JSW did not pay any tariffs with respect to Request no. 2337. However, because the Depaitment gave the
same treatment to this and the remaining eleven requests, JSW includes this request in its discussion of the
Depa1tment's ai"bitra1y and cap1icious conduct.
8
  Dkt. # 15-7 at 4-6.
9
  Dkt. # 15-8 at 4-5.
10
   Dkt. # 15-9 at 4-6.
11 Dkt. # 15-10 at 4-5.

12
   Dkt. # 15-1 1 at 4-6.
13
     Dkt. # 15-12 at 4-5.


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States, JSW submitted requests for exclusions from the Section 232 tariffs for those slabs, as set

f01th in detail below.

          Defendant is the United States of America, acting by and through the U.S. Depatiment of

Commerce. The Depa1iment wrongfully denied each and eve1y request by JSW, leading to this

action.

                 B.      Statutory And Regulatory Background

          In March 2018, the President, acting pursuant to Section 232 of the Trade Expansion Act

of 1962 (19 U.S.C. § 1862), signed Proclamation 9705, which imposed a 25% tariff on steel

impo1is. The Proclamation, recognizing that these tru·iffs could have unintended consequences

for U.S. businesses that rely on impmts of steel products, directed the Secreta1y of Commerce to

grant exclusions from the tariffs for any steel product that is "not produced in the United States

in a sufficient and reasonably available amount or of a satisfactmy quality." Adjusting lmpmis

of Steel into the United States, Pres. Proc. No. 9705, 83 Fed. Reg. 11 ,625, 11,627 (Mar. 8, 201 8).

          Later in Mru·ch, the Depa1iment, acting through its Bureau of Industry and Security

("BIS"), issued an interim mle (codified at 15 C.F.R. pt. 705, supp. 1) setting fo11h the

procedures for U.S. businesses to request an exclusion from the steel tariffs, and providing the

standru·ds the Department would apply in deciding whether to grant such a request. Following a

notice and comment period, on September 11 , 2018 the Secretary issued an interim final mle

supplementing the procedures and standards for deciding tariff exclusion requests.               See

Submissions of Exclusion Requests and Objections to Submitted Requests for Steel and

Aluminum, 83 Fed. Reg. 46,026 (Sept. 11 , 2018) (the "Rule"). According to the Depaiiment, the

Rule is intended to "fulfill the Presidential directives ... to create an exclusion process to ensure

users of steel . .. in the United States would continue to have access to steel and aluminum that



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they may need." Id.

        The Rule provides:

                The U.S. Department of Commerce will review each exclusion
                request to determine whether an article described in an exclusion
                request meets any of the following three criteria: the article is not
                produced in the United States in a sufficient and reasonably
                available amount, is not produced in the United States in a
                satisfactory quality, or for specific national security considerations.

15 C.F.R. pt. 705, supp. 1 § (c)(6).

        The Rule also provides that domestic producers may object to an exclusion request by

demonstrating that they can and will "immediately'' ("within eight weeks"), supply the product

or a suitable "substitute product" for which a tariff exclusion is sought in the quality and quantity

required by the requester. Id. § (c)(6)(ii). A "substitute product" means an "equivalent" product

meeting the "quality (e.g., industry specs or internal company quality controls or standards),

regulatory, or testing standards, in order for the U.S. produced steel to be used in [the

requester's] business activity in the United States by that end user." Id. § (c)(6)(ii).

        The Department explained that "[a] credible objection must state that the objector can

produce the product being sought." 83 Fed. Reg. 46,026, 46,035 (BIS Response to Comment

(f)(4)(i)). The Rule plainly and sensibly placed the burden on an objector to demonstrate that it

can produce the product or a suitable substitute within the requisite timeframe:

          The objection should clearly identify, and provide support for, its opposition
          to the proposed exclusion, with reference to the specific basis identified in,
          and the support provided for, the submitted exclusion request. If the objector
          is asse1ting that it is not cmTently producing the steel identified in an
          exclusion request but can produce the steel within eight weeks, the objector
          must identify how it will be able to produce the a1ticle within eight weeks.

Id. pt. 705, supp. 1 § (d)(4).




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                     C.       JSW's Requests For Exclusion From Section 232 Tariffs 14

            JSW operates one of the widest plate mills in the United States in Baytown, Texas, where

it produces cut-to-length steel plate greater than 150 inches wide. JSW uses alloy and non-alloy

steel slabs to manufacture the steel plate, which is used in critical infrastrncture projects, such as

natural gas and oil transmission pipelines, shipbuilding, transmission pole towers, wind towers,

railroad tank cars, and other heavy equipment industries that require high quality steel plate and

pipe products. 15

            To manufacture this plate, JSW requires a reliable feedstock of steel slabs that are more

than 70 inches wide, with thicknesses between 7.8 inches and 12 inches. 16 The thickness of the

slab is critical to enable JSW to meet the metallurgical properties its customers require for their

heavy industry applications. In particular, as JSW informed the Department, it must satisfy

certain "reduction ratios" in manufacturing the plate products to meet its customers' needs.17

For example, when a customer specifies a 4-inch plate with a 3:1 reduction ratio, JSW' s process

must start with a 12-inch thick slab. 18 JSW must import these slabs, as it has done for year·s, if it

is to continue manufacturing steel plate in Baytown because steel slabs of the thicknesses JSW

requires are simply not available from U.S. producers.




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   Unless otherwise indicated, all of the facts set forth herein were included in the administrative record. Citations to
the relevant pmtion of the record for each request are indicated by reference to "Dkt. # 15-_ at [page number]."
The pagination is the same for the Public Record (Dkt. #16). For citations to the Pubic Record, see the
co1Tesponding page number for Docket # 16 (e.g., Dkt. # 16-_ at [page number]).
15
   Dkt. # 15-1 at 12; 16; Dkt. # 15-2 at 14, 21 ; Dkt. # 15-3 at 14, 21 ; Dkt. # 15-4 at 13, 20; Dkt. # 15-5 at 13, 20;
Dkt. # 15-6 at 13, 20; Dkt. # 15-7 at 13, 20; Dkt. # 15-8 at 13, 20; Dkt. # 15-9 at 13, 20; Dkt. # 15-10 at 13, 20; Dkt.
# 15-11 at 13, 20; Dkt. # 15-12 at 13, 20.
16
   Dkt. # 15-1 at 17; Dkt. # 15-2 at 22; Dkt. # 15-3 at 22; Dkt. # 15-4 at 21 ; Dkt. # 15-5 at 21 ; Dkt. # 15-6 at 21 ; Dkt.
# 15-7 at 21; Dkt. # 15-8 at 21 ; Dkt. # 15-9 at 21 ; Dkt. # 15-10 at 21 ; Dkt. # 15-11 at 21 ; Dkt. # 15-12 at 2 1.
17
   Dkt. # 15-1 at 82; Dkt. # 15-2 at 92, 103; Dkt. # 15-3 at 92, 103; Dkt. # 15-4 at 75; Dkt. # 15-5 at 76; Dkt. # 15-6
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12 at 109.
18
     See, e.g., Dkt. # 15-1 at 82; Dkt. # 15-2 at 89-90, 103.


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           Accordingly, on April 17, 2018, JSW filed six requests for exclusions from the Section

232 tariff for certain steel slabs imported from its parent company, JSW Steel Ltd., in India. The

six requests were limited to alloy and non-alloy steel slabs over 70 inches wide and produced to

thicknesses of 8 inches (BIS-2018-0006-1218 19 and 2335 20) , 10 inches (BIS-2018-0006-1221 21

and 233622 ) , and 12 inches (BIS-2018-0006-1227 23 and 2337 24) .

           Pursuant to Proclamation 9740, beginning June 1, 2018 the Section 232 tariffs also

applied to steel impmts from Mexico. See Adjusting Imports of Steel into the United States,

Pres. Proc. No. 9740, 83 Fed. Reg. 20,683, 20,685 (Apr. 30, 2018). Therefore, on June 4, 2018,

JSW filed six exclusion requests for steel slabs that it imports from ArcelorMittal Mexico to its

Baytown facility. The six requests were limited to alloy and non-alloy steel slabs over 70 inches

wide and produced to thicknesses of 7.8 inches (BIS-2018-0006-2946225 and 29465 26), 8.8

inches (BIS-2018-0006-2947027 and 2947428) , and 9.8 inches (BIS-2018-0006-29481 29 and

2948430).

           In suppmt of these requests, JSW submitted detailed information and evidence regarding




19   Dkt. # 15-1 at 11-32.
20
     Dkt. # 15-4 at 11-36.
21
     Dkt. # 15-2 at 12-37.
22 Dkt. # 15-5 at 11-36.
23 Dkt. # 15-3 at 12-37.
24
   Dkt. # 15-6 at 11-36.
25
     Dkt. # 15-7 at 11-35.
26
     Dkt. # 15-8 at 11-35.
27
   Dkt. # 15-9 at 11-35.
28
   Dkt. # 15-10 at 11-35.
29 Dkt. # 15-11 at 11-35.

30
     Dkt. # 15-12 at 11-35.


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the domestic market for these products, including statistics showing domestic steel capacity, 31

and metallurgical literature concerning the requisite manufacturing processes for JSW's high-

grade products. 32       These submissions provided uncontroverted evidence that, despite the

Objectors' claims, JSW cannot source its steel slab feedstock in sufficient quantity or quality in

the United States, because:

             •    The Objectors do not have the ability to produce any steel slabs with thicknesses
                  of 9.8, 10, or 12 inches at all;

             •    The Objectors, while having the ability to produce some steel slabs with
                  thicknesses of 7.8, 8, or 8.8 inches, do not have the capacity to produce and
                  supply JSW with sufficient amounts of these slabs; 33

             •    JSW does not use "commodity'' grade slab products, and the Objectors are not
                  capable of providing the high-grade slab JSW requires because, among other
                  reasons, these producers lack the necessa1y reconditioning facilities;34

             •    Even assuming the Objectors were capable of ultimately meeting JSW's quality
                  requirements, it would take at least 8-10 months of trial runs, testing and
                  adjustments before JSW could source slab from these producers. 35

         Three companies, Nucor Corporation ("Nucor"), United States Steel Corporation ("U.S.

Steel"), and AK Steel Corporation ("AK Steel") filed blanket objections to JSW's exclusion

requests, just as they did in response to hundreds of other requests submitted by their domestic



31 Dkt. # 15-1 at 28-32; Dkt. # 15-2 at 33-37; Dkt. # 15-3 at 33-37; Dkt. # 15-4 at 32-36; Dkt. # 15-5 at 32-36; Dkt. #
15-6 at 32-36; Dkt. # 15-7 at 31-35; Dkt. # 15-8 at 31-35; Dkt. # 15-9 at 31-35; Dkt. # 15-10 at 31-35; Dkt. # 15-11
at 31-35; Dkt. # 15-12 at 31-35.
32
   Dkt. # 15-1 at 83-85 ; Dkt. # 15-2 at 93-95; Dkt. # 15-3 at 104-106; Dkt. # 15-4 at 76-78; Dkt. # 15-5 at 77-79;
Dkt. # 15-6 at 77-79; Dkt. # 15-7 at 106-108; Dkt. # 15-8 at 106-108; Dkt. # 15-9 at 110-112; Dkt. # 15-10 at 110-
112; Dkt. # 15-11 at 110-112; Dkt. # 15-12 at 110-112.
33
   Dkt. # 15-1 at 16-18; Dkt. # 15-2 at 2 1-23; Dkt. # 15-3 at 21-23; Dkt. # 15-4 at 20-22; Dkt. # 15-5 at 20-22; Dkt. #
15-6 at 20-22; Dkt. # 15-7 at 20-22; Dkt. # 15-8 at 20-22; Dkt. # 15-9 at 20-22; Dkt. # 15-10 at 20-22; Dkt. # 15-11
at 20-22; Dkt. # 15-12 at 20-22.
34
  Dkt. # 15-1 at 18-19; Dkt. # 15-2 at 23-24; Dkt. # 15-3 at 23-24; Dkt. # 15-4 at 22-23 ; Dkt. # 15-5 at 22-23; Dkt. #
15-6 at 22-23; Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-1 1 at 22; Dkt. #
15-12 at 22.
35
  Dkt. # 15-1 at 18-19; Dkt. # 15-2 at 23-24; Dkt. # 15-3 at 23-24; Dkt. # 15-4 at 22-23; Dkt. # 15-5 at 22-23; Dkt. #
15-6 at 22-23; Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-1 1 at 22; Dkt. #
15-12 at 22.


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competitors.36

           AK Steel and U.S. Steel claimed, without support, that they could manufacture the slabs

in the quality and quantity JSW needs within the timeframe required by the Rule. 37 Nucor

candidly admitted that it cannot produce any of the slabs for which JSW sought exclusions, but

nonetheless claimed that it could produce a "substitute" downstream plate product that could

replace, not the slabs in issue, but the product JSW manufactures from the slab it impori s.38

However, Nucor had to admit that, even then, it could not produce a sufficient amount of that so-

called substitute nor could it produce it within the requisite eight-week timeframe.

           Altogether, requesters, including JSW, submitted 414 exclusion requests covering slabs

falling within HTSUS 39 Codes 7224900055 and 7207 120050.40 U.S. Steel, Nucor, and AK

Steel, individually or in combination, objected to every single one of the 414 slab exclusion

requests.41 And the Depariment sustained every one of those objections.

                    D.         The Department's Boilerplate Denials Of JSW's Exclusion Requests

           fuitially, it should be noted, that the Depariment's Rule provided it would decide each

exclusion request within 106 days of submission. See id. pt. 705, supp . l (h)(3)(i). fu fact,

however, the Depa1iment, in derogation of its Rule, took more than a year to deny JSW's

exclusion requests. Thus, by the time the Department ruled on JSW's exclusion requests, the

company had already imporied and paid tariffs on every entry for which it sought a tariff



36
   AK Steel only objected to nine of JSW's twelve requests. It did not object to JSW's three requests concerning
alloy steel slab from India (Request Nos. 2335, 2336 and 2337).
37
   Dkt. # 15-1 at 34, 56; Dkt. # 15-2 at 39, 67; Dkt. # 15-3 at 39, 67; Dkt. # 15-4 at 61 ; Dkt. # 15-5 at 61 ; Dkt. # 15-6
at 61 ; Dkt. # 15-7 at 37, 71; Dkt. # 15-8 at 37, 71 ; Dkt. # 15-9 at 37, 71; Dkt. # 15-10 at 37, 71; Dkt. # 15-11 at 37,
71 ; Dkt. # 15-12 at 37, 71.
38
   Dkt. # 15-1 at 37; Dkt. # 15-2 at 44; Dkt. # 15-3 at 44; Dkt. # 15-4 at 38; Dkt. # 15-5 at 38; Dkt. # 15-6 at 38; Dkt.
# 15-7 at 42; Dkt. # 15-8 at 42; Dkt. # 15-9 at 42; Dkt. # 15-10 at 42; Dkt. # 15-11 at 42; Dkt. # 15-12 at 42.
39 "HTSUS" refers to the Harmonized Tariff Schedule of the United States.

40
     See Burke Deel., Ex. A.


                                                         11
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exclusion, 42 amounting to tens of millions of dollars, simply because the Department failed to

adhere to its own Rule.

           When it finally did act on JSW' s requests over a year later, Commerce simply recited,

verbatim, the same boilerplate language for each of the twelve requests, providing no reasoning

whatsoever to support its conclusions.               Instead, in each case, BIS merely stated that it was

relying on the unpublished "recommendation" of another entity within the Department, the

International Trade Administration ("ITA"). 43 Thus, the rnlings stated:

             In examining whether the relevant steel article is produced in the United
             States in a sufficient and reasonably available amount or of a satisfactmy
             quality, ITA [International Trade Administration] recommends finding, based
             on all of the evidence presented, that the product referenced in the above-
             captioned exclusion request is produced in the United States in a sufficient
             and reasonably available amount and of a satisfactory quality, and
             recommends denying the request for an exclusion.

             BIS accepts ITA 's recommended findings as to the domestic availability of
             the product ... .44

           The Department did not provide ITA 's Recommendations to the requesters, and so until

this lawsuit was filed, JSW did not even know what BIS was relying upon when it said, " BIS

accepts ITA' s recommended findings." When JSW finally saw the ITA' s Recommendations,

which were all virtually identical, it turned out that the ITA also did not provide any analysis or

explanation for its conclusions. Rather, as explained in fmther detail below (Section IV.C,

infra), the ITA merely gave an incomplete and generic regurgitation of some of the points



41   Jd.
42
     JSW sought exclusion requests for a period of one-year - the default period for exclusion under the Rule. See,
e.g., Dkt. # 15-1 at 11; see also 15 C.F.R. pt. 705 Supp. 1 § (h)(2)(iv).
43
  For the six requests concerning non-alloy slabs (Request nos. 1218, 1221, 1227, 29462, 29470, 29481), the
Depa11ment also noted that JSW's HTSUS code designations appeared to be it1co1Tect. This ministerial eITor, which
JSW could easily coITect, was itTelevant because the agency denied the requests on what it deemed to be the merits.
44
   Dkt. # 15-1 at 5; Dkt. # 15-2 at 5; Dkt. # 15-3 at 5; Dkt. # 15-4 at 5; Dkt. # 15-5 at 5; Dkt. # 15-6 at 5; Dkt. # 15-7
at 5; Dkt. # 15-8 at 5; Dkt. # 15-9 at 5; Dkt. # 15-10 at 5; Dkt. # 15-11 at 5; Dkt. # 15-12 at 5.


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offered by JSW and the Objectors. It did not distinguish among the specific slab products, and it

did not even pmport to analyze any of the evidence before it.                                   In fact, each ITA

Recommendation45 ended with the same concluso1y statement that [

                                                 ]46

           The ITA's recommendations, which fo1med the basis of the Depa1tment's conclusions,

are part of a disturbing pattern of the agency not fulfilling its mandate, but rather deferring to the

large domestic companies that aggressively objected across the board to every request of JSW

and others. Indeed, the pattern that has emerged is so troubling that it has led the Office of the

Inspector General to warn the Secretary of Commerce about improper influences in the process

and the appearance of impropriety presented by the Department's conduct. See "Management

Ale1i: Ce1t ain Communications by Department Officials Suggest Improper Influence in the

Section 232 Exclusion Request Review Process." 47

           The irregularities identified by the Inspector General included the Department's

reconsideration of approved exclusion requests "at the request of an objector," and the

Deprutment's revision of a review criterion ''within days of receiving a communication from an

objector regarding the criterion." Id. The Inspector General also noted that Depa1tment officials

had conducted undocumented, off-the-record ex parte communications with some objectors.

The Inspector General therefore expressed serious concern that the exclusion process lacked



45
   Tellingly, the ITA prepared only four Recommendation memoranda purp01ting to address JSW's twelve exclusion
requests. See Dkt. # 15-1 at 8 (Request No. 12 18); Dkt. # 15-2 and Dkt. # 15-3 at 8 (Request Nos. 1221 and 1227);
Dkt. # 15-4, Dkt. # 15-5, and Dkt. # 15-6 at 8 (Request Nos. 2335, 2336 and 2337); Dkt. # 15-7, Dkt. # 15-8, Dkt. #
15-9, Dkt. # 15-10, Dkt. # 15-11 and Dkt. # 15-12 at 8 (Request Nos. 29462, 29465, 29470, 29474, 29481, and
29484).
46
   Dkt. # 15-1 at 8-9; Dkt. # 15-2 at 8-9; Dkt. # 15-3 at 8-9; Dkt. # 15-4 at 8-9; Dkt. # 15-5 at 8-9; Dkt. # 15-6 at 8-9;
Dkt. # 15-7 at 8-9; Dkt. # 15-8 at 8-9; Dkt. # 15-9 at 8-9; Dkt. # 15-10 at 8-9; Dkt. # 15-11 at 8-9; Dkt. # 15-12 at 8-
9.
47
     Burke Deel., Ex. C.


                                                         13
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transparency and impartiality. As the Inspector General tactfully put it:

               This gives the appearance that Department officials may not be
               impartial or transparent and are potentially making decisions
               based on evidence not contained in the official record for specific
               exclusion requests.

Id. (emphasis added.)

       More bluntly stated, the irregularities, when combined with the Depaitment's summaiy ,

pro Jonna denials of all of the more than 400 exclusion requests for steel slab, suppmt the

conclusion that the Department did, unfortunately, cede its responsibility to the Objectors, rather

than reaching reasoned decisions based on the actual record evidence regarding JSW' s exclusion

requests.    The Department's disregard of its obligation to engage in fair, reasoned

decisionmaking mandates reversal of its mlings.

       IV.     ARGUMENT

               A.       Applicable Legal Framewo1·k

       The standard for reviewing agency action under the APA is well known to this Comt and

need not be belabored here. The Court will set aside a challenged agency action if it is found to

be "arbitrary, capricious, an abuse of discretion, or othe1w ise not in accordance with law." 5

U.S.C. § 706(2)(A). While "a comt is not to substitute its judgment for that of the agency" when

conducting such a review, "comts retain a role, and an impo1tant one, in ensming that agencies

have engaged in reasoned decisionmaking." Judulang v. Holder, 565 U.S. 42, 53 (2011). The

Comt "must assess .. . whether the decision was based on a consideration of the relevant factors

and whether there has been a clear enor of judgment." Id. ( quotations and citations omitted).

"That task involves examining the reasons for the agency decisions - or, as the case may be, the

absence of such reasons." Id.

       The Supreme Comt has instmcted that agency action is ai-bitrary and capricious if:


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               the agency has relied on factors which Congress has not intended it
               to consider, entirely failed to consider an important aspect of the
               problem, offered an explanation for its decision that rnns counter
               to the evidence before the agency, or is so implausible that it could
               not be ascribed to a difference in view or the product of agency
               expertise.

Motor Vehicle Mfrs. Ass 'n of US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). "Agency action based on a factual premise that is flatly contradicted by the agency's

own record does not constitute reasoned administrative decisionmaking, and cannot survive

review under the arbitrary and capricious standard." City of Kansas City, Mo. v. Dep 't of Hous.

& Urban Dev., 923 F.2d 188, 194 (D.C. Cir. 1991).

       Critically, in order for there to be meaningful judicial review, the agency must, in the first

instance, "not only have reached a sound decision, but have articulated the reasons for that

decision." In re Sang Su Lee, 277 F.3d 1338, 1342 (Fed. Cir. 2002). In other words, the agency

"must examine the relevant data and articulate a satisfactory explanation for its action including

a 'rational connection between the facts found and the choice made. "' Motor Vehicle Mfrs.

Ass 'n., 463 U.S. at 43 (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168

(1962)). The Department has woefully failed to do that here.

               B.      The Department's Denials Of JSW's Six Requests For Slabs With
                       Thicknesses of 9.8-, 10-, and 12-Inches Run Counter To The Evidence
                       And Must Be Reversed

       The Department's decisions denying JSW's six requests concerning 9.8-, 10-, and 12-

inch alloy and non-alloy steel slabs (Request nos. 1221, 1227, 2336, 2337, 29481, 29484) ar·e

arbitrary and capricious because the Department's conclusions that these products ar·e

sufficiently and reasonably available in the United States are not only unfounded, they actually

"rllll[] counter to the evidence before the agency." Motor Vehicle Mfrs. Ass 'n., 463 U.S. at 43.

       The only factual evidence in the record is that alloy and non-alloy steel slab with


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thicknesses of 9.8-, 10-, and 12-inches are not produced in the United States in sufficient and

reasonably available amounts to meet JSW's requirements.

           JSW submitted uncontrove1ied evidence that ArcelorMittal is the only domestic producer

that cunently has the capability to produce slab with a thickness of 9 .8 inches or greater. But

ArcelorMittal consumes all of the slab it produces to feed its own plate and coil production at the

same mills, and hence is not a somce for JSW. 48 As JSW advised the Depaitment, it is seeking

an exception for the slab it imports from ArcelorMittal Mexico precisely because ArcelorMittal

consumes all of the slab its produces in the United States, and will not supply slab to JSW from

its U.S. facility. 49 Neither ArcelorMittal nor the Objectors have claimed othe1w ise. In fact,

although it has objected to hundreds of exclusion requests for va1ious steel products,

ArcelorMittal did not object to any of JSW's exclusion requests. 50 Indeed, ArcelorMittal did not

object to any of the 41 4 exclusion requests for alloy and non-alloy steel slabs. 51 It did not do so

for a simple reason - ArcelorMittal recognizes that it is not a reasonably available domestic

somce for the slab products JSW impmts.

           As for the Objectors, the record establishes that they do not and cannot produce any steel

slab with a thickness of 9.8 inches or greater at their existing, operational facilities. That is

undisputed.

           AK Steel. For its paii, AK Steel made the naked claim, in a one-line statement, that it




48
   Dkt. # 15-1 at 17-18; Dkt. # 15-2 at 22-23; Dkt. # 15-3 at 22-23; Dkt. # 15-4 at 21-22; Dkt. # 15-5 at 21-22; Dkt. #
15-6 at 21-22; Dkt. # 15-7 at 21 -22; Dkt. # 15-8 at 21-22; Dkt. # 15-9 at 21-22; Dkt. # 15-10 at 21-22; Dkt. # 15-11
at 21-22; Dkt. # 15-12 at 21-22.
49
   Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-11 at 22; Dkt. # 15-12 at 22.
50 Dkt. # 15-2 at 89; Dkt. # 15-3 at 89.

51
     See Burke Deel., Ex. A


                                                       16
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has the ability and capacity to manufacture such slabs. 52 But despite the requirements of the

Rule, AK Steel offered no facts to suppo1t its claim. 15 C.F.R. Pait 705, supp. 1 § (d)(4). That

is not surp1ising, however, because the published statistics from the 2018 Association of Iron and

Steel Technology (AIST) Directory of Iron and Steel Plants, which are pa1t of the agency record,

establish that AK Steel does not have a single facility that is capable of casting slab thicker than

9.5 inches. 53 What is surprising, and troubling, is that Commerce did not require any factual

supp011 for AK Steel's claim, and ignored the conclusive evidence that, in fact, AK Steel cannot

produce slab in these thicknesses.

         U.S. Steel. While objecting to every JSW exclusion request, U.S. Steel also did not

claim that it presently has the capability to cast slabs thicker than [                           ] inches. 54 The ITA

Recommendations, however, [




                                                    1ss
         The IT A's statement is mystifying because, while it talks about the volume of steel U.S.

Steel claims its can produce, it fails to mention the critical fact that none of that is steel slab of

9.8 inches or thicker, which is the focus of the exclusion requests. In fact, U.S. Steel did not



52 Dkt. # 15-1 at 36 ("AK Steel obj ects because it has the ability and capacity to manufacture this product."); Dkt. #
15-2 at 43 ; Dkt. # 15-3 at 43; Dkt. # 15-7 at 4 1; Dkt. # 15-8 at 4 1; Dkt. # 15-9 at 41; Dkt. # 15-10 at 4 1; Dkt. # 15•
11 at 41 ; Dkt. # 15- 12 at 4 1.
53 Dkt. # 15-1 at 29; Dkt. # 15-2 at 35,; Dkt. # 15-3 at 35; Dkt. # 15-4 at 34; Dkt. # 15-5 at 34; Dkt. # 15-6 at 34;

Dkt. # 15-7 at 33 ; Dkt. # 15-8 at 31-32; Dkt. # 15-9 at 33; Dkt. # 15-10 at 33; Dkt. # 15-11 at 33; Dkt. # 15-12 at 33 .
54
   See, e.g., 0kt. #15-2 at 129 [                                                                                           ].
55 Dh.1 . # 15· 1 at 8-9; Dkt. # 15-2 at 8-9; Dkt. # 15-3 at 8-9; Dkt. # 15-4 at 8-9; Dh.1:. # 15-5 at 8-9; Dkt. # 15·6 at 8-9 ;

Dkt. # 15-7 at 8-9; Dkt. # 15-8 at 8-9; Dkt. # 15-9 at 8-9; Dkt. # 15-10 at 8-9; Dkt. # 15-11 at 8-9; Dkt. # 15-12 at 8-
9.


                                                           17
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even claim that it could produce slabs 9.8-inches or thicker at any of these facilities. Instead,

U.S. Steel suggested that it could potentially produce some unspecified amount of these slabs at

only two of these facilities at some unspecified point in the future. In patticular, it claimed that it

could eventually (a) produce 10-inch slab at its idle Fairfield, Alabama facility; 56 and (b)

produce 12-inch slab by [

                                                                                              ]_57

         U.S. Steel's submission is particularly noteworthy because it confoms what is undisputed

in the agency record, namely that slabs with thicknesses of 9.8-inches or more are simply not

available in the United States. First, with respect to the purported 10-inch capacity at its idle

Fairfield facility, U.S. Steel acknowledged in its submissions that this facility is "unfinished" and

therefore can cunently supply zero amount of steel slab. 58 Obviously, until U. S. Steel actually

completes construction and restarts its Fairfield facility, no amount of steel slab from this facility

is "reasonably available." Moreover, it is unclea1· when and if U.S . Steel will ever complete

constrnction of the facility. The company aI1I1ounced in February 2019, nearly a yea1· after JSW

submitted its requests, that it would resta1t construction of its electric arc furnace at its Fairfield

plant, and predicted it would take over a year-and-a-half to complete. See Press Release, U.S.

Steel, United States Steel Ailllounces Resta1t of Construction of Electr·ic Arc Furnace (Feb. 11,




56
  Dkt. # 15-1 at 108; Dkt. # 15-2 at 129; Dkt. # 15-3 at 128; Dkt. # 15-4 at 101; Dkt. # 15-5 at 102; Dkt. # 15-6 at
101; Dkt. # 15-7 at 131; Dkt. # 15-8 at 131; Dkt. # 15-9 at 131; Dkt. # 15-10 at 131; Dkt. # 15-11 at 135; Dkt. # 15-
12 at 135. [                                                               ].
57Dkt. # 15-1 at 108; Dkt. # 15-2 at 129; Dkt. # 15-3 at 128; Dkt. # 15-4 at 101; Dkt. # 15-5 at 102; Dkt. # 15-6 at
101; Dkt. # 15-7 at 131; Dkt. # 15-8 at 131; Dkt. # 15-9 at 131; Dkt. # 15-10 at 131; Dkt. # 15-11 at 135; Dkt. # 15-
12 at 135. f

58
  Dkt. # 15-1 at 56; Dkt. 15-2 at 67 ; Dkt. # 15-3 at 67; Dkt. # 15-4 at 61 ; Dkt. # 15-5 at 6 1; Dkt. # 15-6 at 6 1; Dkt. #
15-7 at 69; Dkt. # 15-8 at 69; Dkt. # 15-9 at 69; Dkt. # 15- 10 at 69; Dkt. # 15-11 at 69; Dkt. # 15-12 at 69. Even if
the facility were to become operational, U.S. Steel would still have to demonstrate the capability to supply the slab
JSW impo1ts in the amount and quality that JSW requires. As described in Section IV.D.2, infra, JSW submitted


                                                          18
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2019),              https://www.ussteel.com/newsroom/united-states-steel-announces-restart-constrnction-

electric-arc-fumace.59 In other words, it is clear that U.S. Steel could not (and still cannot)

produce any slab at this facility within the requisite eight-week timeframe. 15 C.F.R. Part 705,

supp. 1 § (c)(6)(i).

          U.S. Steel's claim that it could produce 12-inch slab by [

                                     ] fares no better.     U.S. Steel admitted that, were it actually to

                                      ], the process would take between [
               60
          ].         In other words, even if U.S. Steel were actually committed to [

          ] (which it still has not done more than a year later), it could not provide the slab JSW

needs and seeks to impo1t within the time required by the Rule. See Way of Life Television

Network, Inc. v. FCC., 593 F.2d 1356, 1359 (D.C. Cir. 1979) ("It is a 'well-settled mle that an

agency's failme to follow its own regulations is fatal to the deviant action."' (citation omitted));

Policy & Research, LLC v. United States Dep 't of Health & Human Servs., 313 F. Supp. 3d 62,

83 (D.D.C. 2018), appeal dismissed, 2018 WL 6167378 (D.C. Cir. Oct. 29, 2018) ("Under the

most elementa1y precepts of administrative law, an agency has no choice but to provide a

reasoned explanation for its actions, and it cannot unde1take to act in a manner that is contra1y to

its own regulations." (citations omitted)).

          What is teITibly disappointing and disturbing 1s that the Depa1tment ignored these




evidence that, at best, it would take 8-10 months to qualify any new slab caster to provide slab meeting its
production standards.
59
     See Bmke Deel., Ex. B.
60
  Dkt. # 15-1 at 108; Dkt. # 15-2 at 129; Dkt. # 15-3 at 128; Dkt. # 15-4 at 101; Dkt. # 15-5 at 102; Dkt. # 15-6 at
101; Dkt. # 15-7 at 131; Dkt. # 15-8 at 131; Dkt. # 15-9 at 131; Dkt. # 15-10 at 131; Dkt. # 15-1 1 at 135; Dkt. # 15-
12 at 135. In connection with Request no. 1227, U.S. Steel submitted an additional confidential letter to the
Department admitting that it would take [
                          ] See, e.g., Dkt. # 15-3 at 75 . Whether it would take [                             ], U.S.
Steel was clear that it could not produce any 12-inch slab within 8 weeks.


                                                       19
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obvious, uncontroverted facts and went on blithely to find that the slabs are "produced in the

United States in sufficient and reasonably available amount," based upon absolutely nothing.

         Nucor. Nucor never even contended that it produces or could produce any of the slab

products for which JSW sought exclusions. That of course, begs the question, why then (other

than to join AK Steel and U.S. Steel) did Nucor even bother to object? However, whatever its

motivation, once it admitted it did not produce any of the slab in issue that should have ended the

inquiry with respect to Nucor. But it did not.

         Determined to object despite not producing any of the slab products or an equivalent for

any of them, Nucor claimed it could produce a "substitute downstream" steel plate product. 61

fucredibly, determined to deny the exclusion requests, the ITA appears to have either fallen for

this mse or wittingly indulged it.

         fu its Recommendation covering JSW's exclusion requests for 10- and 12-inch non-alloy

steel slab from India (Request Nos. 1221 and 1227), while noting that [

                              ], the ITA stated, without any explanation at all, that it [
                                             62
                                         ]        Although Nucor made this same argument in objecting to

every one of JSW's requests, the ITA did not purpo1t to make a similar finding with respect to

JSW's remaining requests, including the four additional requests covering 9.8-, 10-, and 12-inch

slab (Request Nos. 2336, 2337, 29481, 29484).                     Neve1theless, each ITA Recommendation




61
  Dkt. # 15-1 at 37; Dkt. # 15-2 at 44; Dkt. # 15-3 at 44; Dkt. # 15-4 at 38; Dkt. # 15-5 at 38; Dkt. # 15-6 at 38; Dkt.
# 15-7 at 42; Dkt. # 15-8 at 42; Dkt. # 15-9 at 42; Dkt. # 15-10 at 42; Dkt. # 15-11 at 42; Dkt. # 15-12 at 42.
62
  Dkt. # 15-2 at 9; Dkt. # 15-3 at 9. JSW submitted conclusive evidence that Nucor 's steel plate product is not a
substitute for JSW's steel plate product, in any event; it is not the same grade or quality as JSW's downstream
product. See, e.g., Dkt. 15-3 at 99. The Department's failure to even consider this evidence renders its decisions
arbitraiy and capricious. See Section IV.D.2, inji-a.


                                                        20
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                                                                                         ]63

         The BIS Decision Memoranda do not indicate one way or the other whether the

Deprutment rested its denial of any particular request on Nucor's claim. However, to the extent

one guesses (and all one can do is guess) that this may have been a basis for the Depa1tment's

denials of any of JSW's requests, including those concerning 9.8-, 10-, or 12-inch slab, those

decisions would be arbitrruy and capricious because the record evidence could not support such a

finding.

         First, Nucor's alleged "substitute product" is, by Nucor's admission, not a substitute at all

for the slab products for which JSW requested exclusions. 64 Therefore, the alleged availability

of this "substitute" is totally iITelevant. The Rule clearly specifies that an exclusion is to be

granted if the "article described in the exclusion request" is not produced in the United States in

a sufficient and reasonably available amount. 15 C.F.R. Part 705, supp. 1 § (c)(6). While the

product offered by an objector need not "be identical, . . . it does need to be equivalent [to the

requested] product," not some other product. Id. § (c)(6)(ii).

                  "Substitute product" . .. means that the steel being produced by an
                  objector can meet "immediately" . . . the quality (e.g., industry
                  specs or internal company quality controls or standru·ds ),
                  regulat01y, or testing standards, in order for the U.S. produced steel
                  to be used in that business activity in the United States by that
                  end user.

Id. Nucor's so-called "substitute product" is not a substitute for the slab at all; it is an entirely

distinct, downstream manufactured plate product. The "ruticle described in [JSW's] exclusion



63
   Dkt. # 15-1 at 8; Dkt. # 15-2 at 8; Dkt. # 15-3 at 8; Dkt. # 15-4 at 8; Dkt. # 15-5 at 8; Dkt. # 15-6 at 8; Dkt. # 15-7
at 8; Dkt. # 15-8 at 8; Dkt. # 15-9 at 8; Dkt. # 15-10 at 8; Dkt. # 15-11 at 8; Dkt. # 15-12 at 8.
64
  See, e.g., Dkt. # 15-2 at 46 ("Nucor can produce downstream products with the same specifications as those
downstream products produced from JS W's imp011ed slab.")


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requests" is steel slab, not steel plate. And JSW's "specified business activity," for which it uses

this steel slab, is the manufacture of steel plate at its Baytown facility. A replacement for the

downstream plate product JSW produces is not the "equivalent" of the upstream slab feedstock

for which JSW sought exclusions. It is therefore obviously not a "substitute product" under the

Rule.

         Moreover, even assuming arguendo that any finding by the Department that Nucor

produced a "substitute product" were tenable, Nucor's so-called "substitute" would still not be

"produced in the United States in a sufficient and reasonably available amount." 15 C.F.R. Part

705, supp. 1 § (c)(6)(i). This is not debatable. Nucor admitted, and the ITA noted, that its

"substitute" product would not be available to JSW in the requisite amount or within the

requisite eight-week timeframe the Department's Rule requires. Nucor stated it would take 84

days 65 (i.e., twelve weeks) to produce this "substitute" product. And even then, it could only

meet 60% of the volume JSW requires. 66 Given this record, it is a total mystery how the ITA

could have cited [                                           ] as relevant to its rnlings at all.          fudeed, it

strongly suggests the ITA never actually reviewed the evidence or weighed it against the Rule.

         fu light of the fact that none of the Objectors could supply 9.8-, 10- or 12-inch slabs -

which is undisputed in the record - those slabs are "not produced in the United States in a

sufficient and reasonably available amount."                 Yet Commerce found precisely the opposite.

These decisions plainly rnn counter to the record evidence. They are therefore indefensible and

totally inexplicable on the merits.




65
  Dkt. # 15-1 at 39; Dkt. # 15-2 at 48; Dkt. # 15-3 at 48; Dkt. # 15-4 at 42; Dkt. # 15-5 at 42; Dkt. # 15-6 at 42; Dkt.
# 15-7 at 46; Dkt. # 15-8 at 46; Dkt. # 15-9 at 46; Dkt. # 15-10 at 46; Dkt. # 15-11 at 46; Dkt. # 15-12 at 46.
66
  Dkt. # 15-1 at 39; Dkt. # 15-2 at 48; Dkt. # 15-3 at 48; Dkt. # 15-4 at 42; Dkt. # 15-5 at 42; Dkt. # 15-6 at 42; Dkt.
# 15-7 at 46; Dkt. # 15-8 at 46; Dkt. # 15-9 at 46; Dkt. # 15-10 at 46; Dkt. # 15-11 at 46; Dkt. # 15-12 at 46.


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       fu sum, because Commerce's decisions denying JSW' s exclusion requests for 9.8-, 10-,

and 12-inch thick slabs are flatly contradicted by the undisputed record evidence, they are

arbitrary, capricious, and unsustainable. See City of Kansas City, Mo. v. Dep 't ofHous. & Urban

Dev. , 923 F.2d 188, 194 (D.C. Cir. 1991) ("Agency action based on a factual premise that is

flatly contradicted by the agency's own record does not constitute reasoned administrative

decisionmaking, and cannot smvive review under the arbitrary and capricious standard.");

Mizerak v. Adams, 682 F.2d 374, 376 (2d Cir. 1982) ("[A]n agency decision is arbitrary and

must be set aside when it rests on a crncial factual premise shown by the agency' s records to be

indisputably inconect.").

       Fmiher, because the conect conclusion based upon the record is so obvious, on remand,

the Comt should instruct the Department to grant JSW's exclusion request nos. 1221, 1227,

2336, 2337, 29481, and 29484 without further delay. See Sierra Club v. EPA, 346 F.3d 955, 963

(9th Cir. 2003) (holding that where "the conclusions that must follow from [the record] are

clear," remand fails to "serve a useful purpose," and the court should instruct the agency as to the

appropriate action).


               C.      For All Twelve Requests, The Department Failed To Provide Any
                       Reasoned Explanation For Its Conclusions

       It is well-settled that "[f]or judicial review to be meaningfully achieved ... the agency

tr·ibunal must present a full and reasoned explanation of its decision." In re Sang Su Lee, 277

F.3d 1338, 1344 (Fed. Cir. 2002).        Therefore, to withstand scrntiny under the APA, the

Department was required to "examine the relevant data and a1t iculate a satisfactory explanation

for its action including a rational connection between the facts found and the choice made."

Motor Vehicle Mfrs. Ass'n, 463 U.S. at 43. As the Federal Circuit explained, "[c]onclusory



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statements . . . do not fulfill the agency' s obligation" of "reasoned decisionmaking." In re Sang

Su Lee, 277 F.3d at 1344-1345.

         In this case, as previously explained, the Department set fo1th its decision with respect to

each of JSW's exclusion requests in twelve viltually identical BIS Decision Memoranda. Each

Memorandum states that ''ffA recommends finding, based on all of the evidence presented, that

the product referenced in the above-captioned exclusion request is produced in the United States

in a sufficient and reasonably available amount and of a satisfactory quality, and recommends

denying the request for an exclusion."67 But neither the BIS Decision Memoranda, nor the ITA

Recommendations on which BIS purported to rely, provide any explanation for how or why the

Department detennined that the data and facts in the records supported their conclusions.
                                                                                            68
         The ITA' s Recommendations [




                           ] For example, the ITA never addressed or considered JSW's evidence

showing that: (i) the Objectors do not have the capability to produce slab with a thickness of 9.8

inches or greater;69 (ii) the Objectors lacked the required reconditioning facilities to meet JSW's




67
   Dkt. # 15-1 at 5; Dkt. # 15-2 at 5; Dkt. # 15-3 at 5; Dkt. # 15-4 at 5; Dkt. # 15-5 at 5; Dkt. # 15-6 at 5; Dkt. # 15-7
at 5; Dkt. # 15-8 at 5; Dkt. # 15-9 at 5; Dkt. # 15-10 at 5; Dkt. # 15-11 at 5; Dkt. # 15-12 at 5.
68
    ITA's Recommendations contain puzzling i1Tegularities regarding AK Steel' s objections.           In three
Recommendations, AK Steel is mentioned as objecting when AK Steel is not on the record as objecting. See Dkt. #
15-4 at 8; Dkt. # 15-5 at 8; Dkt. # 15-6 at 8. In one Recommendation, although AK Steel objected on the record,
that objection is not cited in the Recommendation. Dkt. # 15-1 at 8- 9, 34-36.
69
   Dkt. # 15-1 at 16-18; Dkt. # 15-2 at 21-23; Dkt. # 15-3 at 21-23; Dkt. # 15-4 at 20-22; Dkt. # 15-5 at 20-22; Dkt. #
15-6 at 20-22; Dkt. # 15-7 at 20-22; Dkt. # 15-8 at 20-22; Dkt. # 15-9 at 20-22; Dkt. # 15-10 at 20-22; Dkt. # 15-11
at 20-22; Dkt. # 15-12 at 20-22.


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quality specifications; 70 (iii) it would take at least 8-10 months for the Objectors to establish a

suitable production protocol to meet JSW's quality requirements for slab;71 (iv) the Objectors

would themselves consume any additional 7.8- to 8.8-inch thick slab they produced to feed their

own coil-rolling operations; 72 and (v) the Objectors sought to block exclusion requests for vastly

greater quantities of steel slab than they could ever provide. 73

         While the ITA identified [                                                                             ]74 ITA

did not "examine the relevant data" the parties' presented, and offered no "rational connection

between the facts found and the choice made. " AT&T Wireless Servs., Inc. v. F.C.C. , 270 F .3d

959, 968 (D.C. Cir. 2001) (finding agency decision arbitra1y and capricious because the agency

"fail[ed] to provide a reasoned justification" for its detennination). Parroting the parties' claims

without actually weighing the evidence is far sholi of the reasoned analysis the law requires.

Commerce did not art iculate the relationship between the facts and the conclusion reached, and

for that reason alone its decisions must be reversed. See Ultratec, Inc. v. Cap tionCall, LLC, 872

F.3d 1267, 1274 (Fed. Cir. 2017) (a court "cannot affom agency decision-making where the

agency fails to provide a reasoned basis for its decision").




70
   Dkt. # 15-1 at 18-19; Dkt. # 15-2 at 23-24; Dkt. # 15-3 at 23-24; Dkt. # 15-4 at 22-23; Dkt. # 15-5 at 22-23; Dkt. #
15-6 at 22-23; Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-11 at 22; Dkt. #
15-12 at 22.
71
   Dkt. # 15-1 at 18-19; Dkt. # 15-2 at 23-24; Dkt. # 15-3 at 23-24; Dkt. # 15-4 at 22-23; Dkt. # 15-5 at 22-23; Dkt. #
15-6 at 22-23; Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-11 at 22; Dkt. #
15-12 at 22.
72
   Dkt. # 15-1 at 16-18; Dkt. # 15-2 at 2 1-23; Dkt. # 15-3 at 21-23; Dkt. # 15-4 at 20-22; Dkt. # 15-5 at 20-22; Dkt. #
15-6 at 20-22; Dkt. # 15-7 at 20-22; Dkt. # 15-8 at 20-22; Dkt. # 15-9 at 20-22; Dkt. # 15-10 at 20-22; Dkt. # 15-11
at 20-22; Dkt. # 15-12 at 20-22.
73
  Dkt. # 15-1 at 81; Dkt. # 15-2 at 102; Dkt. # 15-3 at 102; Dkt. # 15-4 at 84; Dkt. # 15-5 at 75; Dkt. # 15-6 at 85;
Dkt. # 15-7 at 114; Dkt. # 15-8 at 114; Dkt. # 15-9 at 118; Dkt. # 15-10 at 118; Dkt. # 15-11 at 118; Dkt. # 15-12 at
118.
74
   Dkt. # 15-1 at 8-9; Dkt. # 15-2 at 8-9; Dkt. # 15-3 at 8-9; Dkt. # 15-4 at 8-9; Dkt. # 15-5 at 8-9; Dkt. # 15-6 at 8-9;
Dkt. # 15-7 at 8-9; Dkt. # 15-8 at 8-9; Dkt. # 15-9 at 8-9; Dkt. # 15-10 at 8-9; Dkt. # 15-11 at 8-9; Dkt. # 15-12 at 8-
9.


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         But Commerce's failure goes beyond its nonfeasance. Without analysis or explanation,

the ITA based its recommended denial of every one of JSW's requests on the same pro Jonna

conclusion that [

         ]75 First, an [                   ] is hardly a standard upon which a serious conclusion that

purporis to be fair and reasoned can be based. Nor does an [

                              ] answer the key questions under the Proclamation and the Rule -

whether the products were in fact "reasonably available" to JSW from U.S. suppliers and

whether the U.S. suppliers' products were of "satisfactory quality'' to meet JSW's specifications.

         More fundamentally, this [                           ] appears to have been nothing more than the

Objectors' naked allegations.              Accordingly, the best that can be said about the ITA's

Recommendations is that the ITA decided to adopt the Objectors ' ipse dixit instead of analyzing

and weighing the actual data the pa1iies submitted to anive at its conclusion.                             That is not

reasoned decisionmaking. Afortiori, neither is BIS's wholesale adoption of ITA' s fatally flawed

Recommendations.           See Yale University v. U. S. Department of Commerce, Domestic &

International Business Administration., Office of Import Programs, 579 F.2d 626, 633 (C.C.P.A.

1977)76 (reversing denial of tariff exemptions for educational equipment where the Department

merely adopted wholesale the recommendations of a National Institute of Health committee

which "themselves do not present any discussion of the evidence which supporis the conclusory

statements therein").




75
   Dkt. # 15-1 at 8-9; Dkt. # 15-2 at 8-9; Dkt. # 15-3 at 8-9; Dkt. # 15-4 at 8-9; Dkt. # 15-5 at 8-9; Dkt. # 15-6 at 8-9;
Dkt. # 15-7 at 8-9; Dkt. # 15-8 at 8-9; Dkt. # 15-9 at 8-9; Dkt. # 15-10 at 8-9; Dkt. # 15-11 at 8-9; Dkt. # 15-12 at 8-
9.
76
   Decisions of the Court of Customs and Patent Appeals are binding in the Federal Circuit. See United States v.
MaverickMktg., LLC, 322 F. Supp. 3d 1373, 1379, n.13 (Ct. Int'I Trade 2018).


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       fu sum, the Depaitment's failure to provide any reasoned explanation for its conclusions,

putting forth instead boilerplate, conclus01y, denials of JSW's exclusion requests requires, at a

minimum, reversal.

               D.     With Respect To All Twelve Requests, The Department Failed To
                      Consider Important Aspects Of The Problem

       An agency acts arbitrai·ily and capriciously if it fails to "consider an important aspect of

the problem" before it. Motor Vehicle Mfrs. Ass 'n of US., Inc. v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983). Accordingly, the Depa1iment had "an 'obligation' to address

impo1iant factors raised" by requesters or objectors. SKF USA Inc. v. United States, 630 F.3d

1365, 1374 (Fed. Cir. 2011). This required the Depa1iment to "reasonably reflect upon the

inf01mation contained in the record and grapple with contrary evidence." Fred Meyer Stores,

Inc. v. Nat'! Labor Relations Bd., 865 F.3d 630, 638 (D.C. Cir. 2017). The Department did

anything but that in this case. fu fact, the Depaiiment failed even to acknowledge, let alone

consider, several critical issues bearing on JSW's exclusion requests.

                      1.      The Failure To Consider Evidence Establishing That The Steel
                              Slabs Were Not "Reasonably Available" In The United States
                              In "Sufficient" Quantity

       The Depaitment expressly recognized that to properly evaluate an exclusion request it

would have to consider "any concerns [requesters] had about an objector overcommitting the

steel or aluminum manufacturer's cunent or future capacity." 83 Fed. Reg. 46,026, 46,037

(Sept. 11, 2018) (Comment (f)(6)(iii)(A)). Thus, when queried about how it would "deal with

multiple exclusion requests where each individual request might be fulfilled from U.S. domestic

paiiies, but the total of such requests exceeds cmTent U.S. capacity," BIS promised that "[t]he

Depaitment, including product expe1is from ITA, will be evaluating these factors as paii of the

review process when objections are received." According to the Depaiiment, "these types of


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trends .. . should be taken into account for an efficient and effective exclusion process." 83 Fed.

Reg. 46,026, 46,037 (Comment (f)(6)(iii)(C)).

         Neve11heless, when it came to evaluating JSW's requests, the Depa1tment did nothing to

assess the legitimacy of the Objectors' pmp01ted "unde1takings."                            To the contraiy, the

Depaitment totally ignored the evidence demonstrating that the Objectors could not possibly

supply the volume of products to which they were committing. As a result, the Depa1tment

cavalierly denied JSW's exclusion requests without any consideration of the evidence that the

Objectors lacked the capacity to supply the requisite product.                       This is yet another failure

requiring reversal.

         The record evidence regarding the capacity issue is ove1whelining.                         JSW subinitted

evidence demonstrating that the Objectors lack the capacity to supply the amount of steel slab for

which JSW requested tariff exclusions because: (i) the Objectors have insufficient slab casting

capacity to supply their own needs for slab to produce high-margin downstream plate and coil

products; and (ii) the Objectors filed objections to hundreds of exclusion requests covering vastly

greater quantities of steel slab than they could ever possibly produce.

         JSW submitted statistics from the AIST regarding U.S. producers' slab casting

capacity. 77 In addition to demonstrating that none of the Objectors could produce 9 .8-inch slab

or greater (see Section IV.B, supra), these statistics show that with respect to 7.8, 8-, and 8.8-

inch slab, U.S. Steel and AK Steel have greater rolling capacity to produce downstream coil

products than they have slab-casting capacity. 78 These companies therefore consume all of the



77
   Dkt. # 15-1 at 28-32; Dkt. # 15-2 at 33-37; Dkt. # 15-3 at 33-37; Dkt. # 15-4 at 32-36; Dkt. # 15-5 at 32-36; Dkt. #
15-6 at 32-36; Dkt. # 15-7 at 31 -35; Dkt. # 15-8 at 31-35; Dkt. # 15-9 at 31-35; Dkt. # 15-10 at 31-35; Dkt. # 15-11
at 31-35; Dkt. # 15-12 at 31-35.
78 Dkt. # 15-1 at 18, 77, 88; Dkt. # 15-2 at 23, 88, 98-99, 109; Dkt. # 15-3 at 23, 88, 98, 109; Dkt. # 15-4 at 22, 71 ,

81; Dkt. # 15-5 at 22, 71 , 82; Dkt. # 15-6 at 22, 71, 82; Dkt. # 15-7 at 22, 94-95, 111; Dkt. # 15-8 at 22, 94-95, 111;


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slab they produce for their own rolling operations, and thus are not a realistic source for JSW.

As noted, Nucor has no capacity to produce any slabs thicker than 7.8 inches.

         Further, JSW also showed that the three Objectors had filed objections to greater

quantities of steel slab products than they had the capacity to produce, even assuming that they

did not consume any of their own slab. The following cha11, taken from the submissions in the

record, shows that the Objectors claimed (through their objections) that they could supply more

than twice the amount of their existing capacity, regardless of the specific slab dimensions.79


                                             Objections t o Slab            Caster Ca pa city
                (1,000 met ric tons)         Exclusion Request s           Excluding Idle Mills
                AK Steel                                     26,292                          11,050
                N ucor                                       22,334                           3,600
                US Steel                                     36,807                          20,580
                Tot al                                       85,433                         35,230



         Considering the entire record, including purportedly confidential inf01mation U.S. Steel

submitted with its sur-rebuttal, the picture is even starker. Based on the information contained in

their submissions, AK Steel and U.S. Steel have, at most, a combined [                             ] metric tons of

unused slab capacity (regardless of specific dimensions). 80 Yet, in response to these companies'

objections, the Department denied exclusion requests for 16.3 million metric tons of steel slab




Dkt. # 15-9 at 22, 94-95, 115; Dkt. # 15-10 at 22, 94-95, 115; Dkt. # 15-11 at 22, 94-95, 115; Dkt. # 15-12 at 22, 94-
95, 115.
79
   Dkt. # 15-1 at 81; Dkt. # 15-2 at 102; Dkt. # 15-3 at 102; Dkt. # 15-4 at 84; Dkt. # 15-5 at 75; Dkt. # 15-6 at 85;
Dkt. # 15-7 at 114; Dkt. # 15-8 at 114; Dkt. # 15-9 at 118; Dkt. # 15-10 at 118; Dkt. # 15-11 at 118; Dkt. # 15-12 at
118.
80
   In its objection, AK Steel asse11ed that it had 4.47 million metric tons in total production capacity, and that its
plants were at 89% utilization, meaning it had 0.49 million metric tons of available capacity. See, e.g. , Dkt. # 15-2
at 39. In U.S. Steel 's CBI submission attached to its sur-rebuttal, it asse11ed that it had [  l million metric tons of
raw steel capacity, and that it had [    ] million metric tons in raw steel production, i.e., [   ] million metric tons
of available capacity. See, e.g. , Dkt. # 15-2 at 129. Nucor is not included in this calculation because, as noted, it
admittedly does not make any of the products for which JSW sought exclusions.


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claiming that this slab "is produced in the United States in a sufficient and reasonably available

amount." 8 1 These facts show that conclusion was plainly inc01rnct.

        In its zest to uphold the objections, the Department ignored and totally failed to address

these basic facts.     This is critical, especially considering that the Depa1iment expressly

recognized at the outset that it had to consider these facts if it were to reach a reasoned decision.

83 Fed. Reg. 46,026, 46,037 (Comment (f)(6)(iii)(C)). The Depariment's failure to do so renders

its decisions arbitrary and capricious. See Water Quality Ins. Syndicate v. United States, 225 F.

Supp. 3d 41, 69 (D.D.C. 2016) (finding agency decision ar·bitrary and capricious where "[t]he

decision .. . ignores critical context provided in the .. . record and amounts to cheny -picking of

evidence that, when considered as a whole, raises significant doubt about the ultimate conclusion

reached").

                        2.      The Failure To Consider Evidence That The Objectors Could
                                Not Produce Slab Of "Satisfactory Quality"

        The Depariment's Rule is clear that a product is not available in the United States unless

domestic suppliers can produce a product meeting the same "industry specs or internal company

quality controls or standards." 15 C.F.R. pt. 705, supp. 1 § (c)(6)(ii). In response to concerns

that domestic manufacturers may be able to manufacture a particular product, but not meet a

requester's technical specifications, the Depariment stated that as pari of the exclusion process it

"will assess whether manufacturing capability can meet the technical parameters for the specific

a1iicle in question." 83 Fed. Reg. 46,026, 46,030 (BIS Response to Comment (b)(4)).

        Despite its promise to detennine whether an objector could meet the quality requirements

of a request for exclusion, the Depa1iment did no such thing. Neither the BIS decisions, nor the



81
  This data is compiled from publicly available documents posted by the Depa11ment on Regulations.gov. See
Burke Deel. ,r,r 3-4; see also id. Ex. A.


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ITA Recommendations on which they are based, even pay lip se1vice to the issue. They make no

finding and cite no evidence that products of suitable quality are available in the U.S. within the

eight-week period.        Nor could they have made such a finding because the ove1whelming

evidence demonstrates precisely the opposite.

         Without listing all the evidence here (since Commerce never even considered the matter)

we note that JSW pointed out that its slabs were used in large diameter steel welded pipe and had

to meet ve1y difficult specifications, such as those from the American Petroleum Institute (API).

As JSW explained, not all slab casters are the same. The Objectors' casters produce light-grade

slab used to make coil. They are not capable of producing the heavy-grade slab needed for

JSW' s plate rolling operations.            In addition, because the slab JSW requires is subject to

transverse and longitudinal cracking, they generally must be "reconditioned" using specialized

facilities, which the Objectors do not have. 82 Given the limitations of the Objectors' facilities, it

is unlikely that they could ever produce slabs meeting JSW's quality requirements. At best, JSW

could only rely on the Objectors' casters following extensive trials of every grade, which would

take at least 8-10 months.83




82
   Dkt. # 15-1 at 18-19; Dkt. # 15-2 at 23-24; Dkt. # 15-3 at 23-24; Dkt. # 15-4 at 22-23 ; Dkt. # 15-5 at 22-23; Dkt. #
15-6 at 22-23; Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-11 at 22; Dkt. #
15-12 at 22.
83
   Dkt. # 15-1 at 18-19; Dkt. # 15-2 at 23-24; Dkt. # 15-3 at 23-24; Dkt. # 15-4 at 22-23 ; Dkt. # 15-5 at 22-23; Dkt. #
15-6 at 22-23; Dkt. # 15-7 at 22; Dkt. # 15-8 at 22; Dkt. # 15-9 at 22; Dkt. # 15-10 at 22; Dkt. # 15-11 at 22; Dkt. #
15-12 at 22. In response to concerns that qualifying a new supplier "is a lengthy process, taking as long as three
years," the Department explained that, "[if] a U.S. supplier objects to an exclusion request, the burden is on that
supplier to demonstrate that the exclusion should be denied" because the product is available in the United States in
satisfactory quality within the requisite timeframe. 83 Fed. Reg. 46,026, 46,029 (Comment (b)(l)). Moreover, U.S.
Steel, in its own purp01t edly confidential submissions, acknowledged that [
                                                         ] See, e.g., Dkt. # 15-2 at 75 ([




             ). Notably, the Depa1tment requested this information from U.S. Steel in an email dated July 29, 2018,
which is strangely missing from the agency's record. In addition, and inexplicably, the Depaitment only requested


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             JSW's customers demand conformance to critical specifications because otherwise the

end-product would be unsafe for use in natural gas pipelines and other infrastrncture projects, or

would not meet federally mandated requirements. Thus, as the Department is aware, JSW's

customers have no choice but to demand and JSW has no choice but to supply plates and pipes

made from slabs that meet these requirements. See 15 C.F.R. Prut 705, supp. 1 § (c)(6)(ii); 83

Fed. Reg. 46026-01 , 46028-29 (Comment (b)(l)-(2)).

             Given the critical impmtance of these quality and availability issues, the Department's

failure to consider and address them is inexplicable. It is yet another failure rendering the

Deprutment's conclusions arbitrary and unsustainable. See Butte County, Cal. v. Hogan, 613

F.3d 190, 194 (D.C. Cir. 2010) ("[A]n agency's refusal to consider evidence healing on the issue

before it constitutes arbitrary agency action within the meaning of§ 706."); Shinn Fu Co. ofAm.,

Inc.    v.   Tire Hanger Corp. , 701 F. App'x 942, 946 (Fed. Cir. 2017) (finding agency decision

ru·bitrary and capricious where it failed "to address the arguments that the paities present[ed] to

it").

                           3.      The Failure To Consider Key Differences Among JSW's Slab
                                   Products

             As set forth above, JSW's exclusion requests covered twelve different slab products, with

six different thicknesses.        The Department, however, issued virtually identical, pro forma

decisions that failed to recognize any distinction among the products for which JSW sought

exclusions. As detailed in Section IV.B, supra, the Objectors simply do not produce 9.8-, 10, or

12-inch slab in any quantity or quality. Since that is beyond doubt, when denying JSW's

exclusion requests for these products we can only guess that the Depa1tment considered the



this infmmation in com1ection with three of the twelve requests. See Dkt. # 15-1 at 64-65; Dkt. # 15-2 at 74-75;
Dkt. # 15-3 at 74-75.


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Objectors' thinner products of 7.8-8.8 inches, which is all the Objectors could possibly provide,

the equivalent of slab products 9.8 inches and above. 84                      Yet, they are not, as JSW's

uncont:rove1ied evidence established.

            JSW' s evidence established that its requirements for larger-thickness products could not

be met by thinner slabs.                As JSW explained to the Depa1iment, to meet its customers'

requirements JSW must staii its production process with thicker slab inputs . That is essential to

satisfy the necessaiy metallurgical prope1iies, toughness, through thickness, and material

soundness required to produce the high quality downstream plate. 85 The Objectors did not

dispute any of these facts. Nor could they.

            As a study JSW submitted from the futemational Symposium on Recent Developments in

Plate Steels points out, "choosing the proper slab dimension is absolutely critical. " 86 This is

because to produce its high-quality steel plate, JSW must meet ce1tain "reduction ratios" - i.e.,

the ratio of the initial slab thickness to the ultimate plate thickness. For example, JSW explained

the issue to the Depaiiment through, among others, the following illustration:

                     Pressure Vessel & Shipbuilding (ABS) steel plate is required by
                     the material specification to have a minimum 3: 1 reduction ratio.
                     We sell up to 4" thick plate in these grades. It is not possible to
                     produce 4" thick plate from an 8" thick slab and achieve a 3: 1
                     reduction ratio. As such, 1O" and 12" thick slabs are required by
                     the mate1ial specification in this case. 87




84
   Of comse, once again we are left to guess what the Department considered or how it reached that conclusion
because its opinions are devoid of any explanation or analysis.
85
   Dkt. # 15-1 at 79, 82; Dkt. # 15-2 at 89-90, 92; Dkt. # 15-3 at 90, 100; Dkt. # 15-4 at 75; Dkt. # 15-5 at 73, 76,
Dkt. # 15-6 at 73, 76; Dkt. # 15-7 at 101-102, 105; Dkt. # 15-8 at 101-102, 105; Dkt. # 15-9 at 96, 98, 105-106, 109;
Dkt. # 15-10 at 96, 98, 105-106; Dkt. # 15-11 at 96, 98, 105-106; Dkt. # 15-12 at 96, 98, 205-106.
86
   Dkt. # 15-1 at 83-85; Dkt. # 15-2 at 93-95, 104-106; Dkt. # 15-3 at 93-95, 104-106; Dkt. # 15-4 at 76-78; Dkt. #
15-5 at 77-79; Dkt. # 15-6 at 77-79; Dkt. # 15-7 at 106-108; Dkt. # 15-8 at 106-108; Dkt. # 15-9 at 99-101, 110-112;
Dkt. # 15-10 at 99-101 , 110-112; Dkt. # 15-11 at 99-101, 110-112; Dkt. # 15-12 at 99-101, 110-112.
87
     See, e.g., Dkt. # 15-2 at 92, 103; Dkt. # 15-9 at 98, 109.


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But neither the BIS Decision Memoranda nor the ITA Recommendations even mention

"reduction ratios," let alone analyze whether JSW could use thinner plate as a substitute for the

imported steel slab for which it sought exclusions.

       The Department's denials without considering the critical differences among the twelve

products for which JSW requested exclusions demonstrates the arbitrary and capricious nature of

its conclusions. See AT&T Wireless Servs., 270 F.3d at 968 ("Conclusory explanations for

matters involving a central factual dispute where there is considerable evidence in conflict do not

suffice to meet the deferential standards of our review. Basic principles of administrative law

require the agency to examine the relevant data and articulate a satisfactory explanation for its

action including a rational connection between the facts found and the choice made." (internal

quotations omitted)).

                        4.    The Failure To Verify US Steel's Incorrect Assertion That It
                              Solicited Orders from JSW

       In each of its Recommendations, ITA noted U.S. Steel's allegedly confidential, sur-

rebuttal submission that [

                ] Importantly, this cryptic statement in a footnote to U.S. Steel's confidential

sur-rebuttal supplement does not actually contain any representation as to the particular steel

products for which U.S. Steel claims to have [




               ***




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                                                                               ]88


            fu fact, in response to U.S. Steel's initial, public allegation in its objection supplements,89

JSW infonned the Depa1tment that it was very interested in purchasing slab from U.S. Steel;

indeed, it was JSW, not U.S. Steel, that "made inquiiy in April 2018, requesting a quote from

[U.S. Steel] to supply slab." Yet, as JSW further informed the Department, U.S. Steel did not

reply to JSW's solicitation until after JSW submitted its exclusion requests, and therefore "it

[was] impossible for [U.S. Steel] to qualify its product or begin supplying JSW within the next 8

to 10 months." 90

            At that point, JSW reasonably believed that U.S. Steel's claim that it was soliciting orders

from the company was a dead issue. However, appar·ently it was not because U.S. Steel alleged,

in its sur-reply, that it [
                                                91
                                            ]        But this time, U.S. Steel labelled its claim "confidential"

so JSW never saw it, and because Commerce opted not to advise JSW of it, the company had no

oppo1tunity to respond to the claim.

            The first JSW even knew of this claim in U.S. Steel's sur-rebuttal or that Commerce

thought it was relevant to its decision was after this lawsuit was filed, when Commerce finally

unveiled the ITA's Recommendations. If the Department had advised JSW of U.S. Steel's

claim, as one would have expected (and basic faiiness would suggest), the Depa1tment would

have learned that JSW's discussions with U.S. Steel established that U.S. Steel could not supply



88
  Dkt. # 15-1 at 108 (note 4); Dkt. # 15-2 at 129; Dkt. # 15-3 at 128; Dkt. # 15-4 at 101; Dkt. # 15-5 at 102; Dkt. #
15-6 at 101; Dkt. # 15-7 at 131; Dkt. # 15-8 at 131; Dkt. # 15-9 at 135; Dkt. # 15-10 at 135; Dkt. # 15-11 at 135;
Dkt. # 15-12 at 135.
89
  Dkt. # 15-1 at 57; Dkt. # 15-2 at 68; Dkt. # 15-3 at 68; Dkt. # 15-4 at 62; Dkt. # 15-5 at 62; Dkt. # 15-6 at 62; Dkt.
# 15-7 at 72; Dkt. # 15-8 at 72; Dkt. # 15-9 at 72; Dkt. # 15-10 at 72; Dkt. # 15-11 at 72; Dkt. # 15-12 at 72.
90   See, e.g., Dkt. # 15-1 at 89.
91
     See, e.g., Dkt. # 15-1 at 108.


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JSW with the necessa1y slab products.               In particular, dming these discussions, U.S. Steel

acknowledged that it could not produce any 10- or 12-inch slab, nor could it produce any size

slab with the chemical compositions JSW required. 92 In other words, U.S. Steel confinned what

JSW told the Depaitment - U.S. Steel could not supply the quantity or quality of slabs for which

JSW sought exclusions.

         In short , the evidence is that JSW was [                            ] only because U.S. Steel could

not supply the products, as was readily apparent to the Department from the pa1ties' submissions.

To the extent the Department relied upon U.S. Steel's "confidential" allegation, it was plainly

arbitra1y and capricious to do so without getting all the facts and giving JSW the opportunity to

respond. Unfortunately, Commerce's conduct here is consistent with the Inspector General's

concerns that the Depa1tment's process lacked transparency and favored objectors.

         V.      CONCLUSION

         To summarize briefly, the record in this case presents an extreme example of arbitrary

and capricious agency action. Paying no attention to the APA or due process, the Depa1t ment

engaged in a charade. Having seemingly established a procedure to assess and pennit tariff

exclusions, it abandoned that procedure and simply became the vehicle to protect the naiTow,

competitive interests of a few domestic steel producers, to the detriment of other domestic

companies like JSW, whom the exclusions were specifically intended to protect. The fact that

the Department denied 100% of the exclusion requests for steel slab after hearing from the




92
  Between May 31 and June 7, 2019, JSW and U.S. Steel discussed U.S. Steel's proposal to provide slab to JSW.
In the comse of these discussions, JSW concluded that it was "obvious that US [Steel] is unable to supply om needs
and JSW cannot wait any longer for a slab supplier." Declaration of Rick Linkimer ,r 6 & Ex. A. The next day, U.S.
Steel replied: "It is unfortunate that it was not made clear that JSW was ONLY interested in 12" and 10" slabs." Id.
In other words, U.S. Steel confirmed exactly what JSW told the Depaitment - U.S. Steel cam10t supply these slabs.
See Section IV.B, supra. This evidence demonstrates what the Depatiment would have discovered had they taken


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Objectors, speaks volumes.              The Inspector General's wannng about the inegularities and

apparent bias in the process unfortunately was either too late or simply ignored by the

Depru1ment. Whichever is the case, the Depru1ment's actions cannot be accepted or condoned.

         We therefore respectfully request that the Comt set aside the Department's decisions

denying JSW's exclusion requests, and instrnct the Depa11ment to:

         (a) Grant JSW's requests for tariff exclusions for 9.8-, 10-, and 12-inch slab (Request
             Nos. BIS-2018-0006-1221, 1227, 2336, 2337, 29481, 29484), as required by the clear
             and uncontroverted record evidence that these products are not available in the United
             States in a sufficient and reasonably available amount or of a satisfactory quality;

         (b) Alternatively, issue a reasoned decision regru·ding JSW's requests for ta1iff exclusions
             for 9.8-, 10-, and 12-inch slab (Request Nos. BIS-2018-0006-1221 , 1227, 2336,
             29481, 29484), including rut iculating a rational basis for the conclusion the
             Depaitment reaches based on the evidence in the record;

         (c) Issue a reasoned decision regarding JSW's exclusion requests for 7.8-, 8-, and 8.8-
             inch slabs (Request Nos. BIS-2018-0006-1218, 2335, 29462, 29465, 29470, 29474),
             including a1ticulating a rational basis for the conclusion the Depa11ment reaches
             based on the evidence in the record;

         (d) Cease undocumented ex parte communications with objectors, and for any request
             remanded for further consideration, permit JSW an oppmtunity to respond to any ex
             parte communications the Department may have considered before rendering further
             decision on remand.




any steps to investigate and assess U.S. Steel 's secret, sur-rebuttal claim that it [
                 ] See, e.g., Dkt. # 15-1 at 108.


                                                          37
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Dated: New York, New York
December 13, 2019

                                       Respectfully submitted:



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                            CERTIFICATE OF COMPLIANCE

       Pursuant to Chambers Procedure 2(B)(l), the undersigned cert ifies that Plaintiffs

Memorandum of Law in Suppo1i of Its Motion for Judgment on the Agency Record, filed on

December 13, 2019, complies with the word limitation requirement. The word count for

Plaintiff s Memorandum of Law, as computed by Chaffetz Lindsey LLP 's word processing

system, is 10,112.



                                                           /s/ Sanford Litvack
                                                     Sanford Litvack




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